Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
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                                           07/08/19
                                             07/08/19Page
                                                      Page1 of
                                                            1 of
                                                               4040
Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
                        Document
                              685-2
                                  1-2Filed
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                                           07/08/19
                                             07/08/19Page
                                                      Page2 of
                                                            2 of
                                                               4040
Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
                                  1-2Filed
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                                           07/08/19
                                             07/08/19Page
                                                      Page3 of
                                                            3 of
                                                               4040
Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
                                  1-2Filed
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                                           07/08/19
                                             07/08/19Page
                                                      Page4 of
                                                            4 of
                                                               4040
Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
                                  1-2Filed
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                                           07/08/19
                                             07/08/19Page
                                                      Page5 of
                                                            5 of
                                                               4040
Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
                                  1-2Filed
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                                           07/08/19
                                             07/08/19Page
                                                      Page6 of
                                                            6 of
                                                               4040
Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
                                  1-2Filed
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                                           07/08/19
                                             07/08/19Page
                                                      Page7 of
                                                            7 of
                                                               4040
Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
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                                           07/08/19
                                             07/08/19Page
                                                      Page8 of
                                                            8 of
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
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                                           07/08/19
                                             07/08/19Page
                                                      Page9 of
                                                            9 of
                                                               4040
Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
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                                           07/08/19
                                             07/08/19Page
                                                      Page1010
                                                             ofof
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
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                                           07/08/19
                                             07/08/19Page
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
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                                           07/08/19
                                             07/08/19Page
                                                      Page1212
                                                             ofof
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
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                                           07/08/19
                                             07/08/19Page
                                                      Page1313
                                                             ofof
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                                           07/08/19
                                             07/08/19Page
                                                      Page1414
                                                             ofof
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
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                                           07/08/19
                                             07/08/19Page
                                                      Page1515
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
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                                             07/08/19Page
                                                      Page1616
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
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                                           07/08/19
                                             07/08/19Page
                                                      Page1717
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
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                                           07/08/19
                                             07/08/19Page
                                                      Page1818
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
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                                           07/08/19
                                             07/08/19Page
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
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                                           07/08/19
                                             07/08/19Page
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
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                                           07/08/19
                                             07/08/19Page
                                                      Page2121
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Case
 Case3:19-cv-01154-MEM
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                              685-2
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                                             07/08/19Page
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Case
 Case3:19-cv-01154-MEM
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                                           07/08/19
                                             07/08/19Page
                                                      Page2323
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
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                                             07/08/19Page
                                                      Page2424
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
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                                             07/08/19Page
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Case
 Case3:19-cv-01154-MEM
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                                           07/08/19
                                             07/08/19Page
                                                      Page2626
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
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                                           07/08/19
                                             07/08/19Page
                                                      Page2727
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
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                                           07/08/19
                                             07/08/19Page
                                                      Page2828
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
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                                           07/08/19
                                             07/08/19Page
                                                      Page2929
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
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                                             07/08/19Page
                                                      Page3030
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                                             07/08/19Page
                                                      Page3131
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                                             07/08/19Page
                                                      Page3232
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                              685-2
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 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
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                                             07/08/19Page
                                                      Page3434
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
                        Document
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
                        Document
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                                             07/08/19Page
                                                      Page3636
                                                             ofof
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
                        Document
                              685-2
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                                             07/08/19Page
                                                      Page3737
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
                        Document
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                                             07/08/19Page
                                                      Page3838
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
                        Document
                              685-2
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                                             07/08/19Page
                                                      Page3939
                                                             ofof
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Case
 Case3:19-cv-01154-MEM
       3:02-at-06000 Document
                        Document
                              685-2
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                                           07/08/19
                                             07/08/19Page
                                                      Page4040
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